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                        EXHIBIT D
Case 3:23-cv-00175-DEW-KDM    Document 50-28   Filed 01/06/25   Page 2 of 26 PageID
                                    #: 762


                         In the Matter of:

                Maya Detiege, Dayne Sherman

                                     vs.

Katrina Jackson, in her official and individual capacities

     ________________________________________________


                             Maya Detiege
                              October 1, 2024

      _______________________________________________
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                                                      Maya Detiege
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                                                                  1                   INDEX
                UNITED STATES DISTRICT COURT                      2
                WESTERN DISTRICT OF LOUISIANA                     3      EXAMINATION BY:                        PAGE
                                                                  4         MR. HAYES                      6
           MAYA DETIEGE, DAYNE SHERMAN CIVIL ACTION               5         MR. PETTIGREW                       52
           VERSUS                  NO. 3:23-cv-175                6
           KATRINA JACKSON, in her          JUDGE: FOOTE
                                                                  7
           official and individual
                                                                  8               EXHIBIT INDEX
           capacities           MAG. JUDGE MCCLUSKY
                                                                  9
                                                                 10            Exhibit 1              52
           *******************************************
                                                                 11            Exhibit 2              57
                                                                 12            Exhibit 3              58
              Deposition of MAYA DETIEGE, taken in the
                                                                 13
           above-entitled cause, before Lisa LaNasa
                                                                 14
           Hibbs, a Certified Court Reporter, pursuant to
                                                                 15
           the following stipulation, taken in the
                                                                 16
           Lavin-Bernick Center, Tulane University, 29           17
           McAlister Drive, New Orleans, Louisiana, on           18
           the 1st day of October, 2024, commencing at           19
           9:05 a.m. and ending at 10:45 a.m..                   20
                                                                 21
                                                                 22
                                                                 23
                                                                 24
                                                                 25

                                                        Page 2                                                 Page 4
       1         APPEARANCES                                      1             STIPULATION
       2
       3         FOR THE PLAINTIFFS:                              2
       4         TULANE LAW SCHOOL                                3             It is stipulated and agreed to by and
                 FIRST AMENDMENT CLINIC
       5         BY: KATIE SCHWARTZMANN, ESQ.
                                                                  4      between counsel that the deposition of MAYA
                    ANNA CLEVELAND, ESQ.                          5      DETIEGE is hereby being taken pursuant to
       6            LANDON PETTIGREW, ESQ.
                    RICHARD CROW, ESQ.
                                                                  6      notice under the Federal Code of Civil
       7            VIRGINIA HAMRICK, ESQ.                        7      Procedure for all purposes permitted under
                 6329 Freret Street                               8      law.
       8         New Orleans, Louisiana 70118
                 kschwartzmann@tulane.edu                         9             The formalities, including those of
       9                                                         10      sealing, certification, and filing, are
      10
                 FOR THE DEFENDANT:                              11      waived. The formalities of reading and
      11                                                         12      signing the deposition are not waived.
                 HAMMOND, SILLS, ADKINS, GUICE,
      12         NOAH & PERKINS                                  13             All objections, except those as to
                 Attorneys at Law                                14      the form of the question and/or the
      13         BY: THOMAS M. HAYES, IV, ESQ.
                 1500 North 19th Street, Suite 301
                                                                 15      responsiveness of the answer, are reserved
      14         Monroe, Louisiana 71201                         16      until the time of the trial of this case. All
                 thayes4@hamsil.com                              17
      15                                                                 objections are to be considered under C.C.P.
      16   ALSO PRESENT:                                         18      Article 1443, Paragraph D.
      17                                                         19
           DAYNE SHERMAN
      18   SENATOR KATRINA JACKSON (Via telephone)               20
      19                                                         21                 *****
      20   REPORTED BY:
      21   LISA LANASA HIBBS, CCR                                22
           Certified Court Reporter                              23            LISA LANASA HIBBS, CCR, State of
      22
      23                                                         24      Louisiana, officiated in administering the
      24                                                         25      oath to the herein witness.
      25
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                                               Page 5                                                   Page 7
       1        MAYA DETIEGE, 5711 Paris Avenue, New         1     it. We have a court reporter here, as you
       2   Orleans, Louisiana, 70122, who, after having      2     see, to your left, and she's working with her
       3   been first duly sworn to tell the truth, the      3     stenographer machine, which means she's taking
       4   whole truth, and nothing but the truth, was       4     down every word that's being said and then
       5   examined and testified as follows:                5     once the deposition is over, it will be typed
       6         MR. HAYES: Good morning.                    6     into a transcript. So in order to have a
       7         MR. PETTIGREW:                              7     clear and coherent transcript, there's a
       8             Before we begin, normally, we           8     couple of rules we need to follow. First of
       9      would object to somebody participating         9     all, you need to answer verbally. If it's a
      10      over the phone, but we're willing to          10     yes or no, please say yes or no, as opposed to
      11      make an exception for Senator Jackson.        11     uh-huh or huh-huh, because they are spelled
      12      We just need her to agree that she's not      12     the same. Likewise, avoiding nodding or
      13      recording this and that she's in a            13     shaking of the head, because that does not
      14      secure location and that, you know,           14     translate into words. You may, as we get into
      15      she's not going to record this or put         15     a comfortable rhythm, anticipate where I'm
      16      this anywhere else.                           16     going with a question. Please, resist the
      17         MR. HAYES:                                 17     urge to start answering the question before I
      18             Senator Jackson, you agree;            18     finish asking it, because that makes a jumbled
      19      you're not recording and you're in a          19     transcript. If you need a break at any time,
      20      secure location?                              20     please, let me know. And if you don't
      21         SENATOR JACKSON:                           21     understand a question that I ask, please, tell
      22             Yes. I'm at my law office.             22     me and I'll do a better job asking it. I'll
      23         MR. HAYES:                                 23     rephrase it. All right? But by the same
      24             Very good. And did you want to         24     token, if you answer my question, I'll presume
      25      address stipulations?                         25     that you understood what I was asking. Fair

                                               Page 6                                                   Page 8
       1           MR. PETTIGREW:                            1      enough?
       2              Yeah. Waiving all objections           2         A. Understood.
       3       except as to form.                            3         Q. Very good. Could you, please, state
       4           MR. HAYES:                                4      your full name for the record?
       5              Very good.                             5         A. Maya Detiege.
       6   BY MR. HAYES:                                     6         Q. No middle name?
       7       Q. All right. Good morning, Ms.               7         A. Clark Detiege.
       8   Detiege.                                          8         Q. What is your address?
       9       A. Hi. Good morning.                          9         A. 5711 Paris Avenue, New Orleans,
      10       Q. I'm Tommy Hayes. I met you earlier        10      Louisiana, 70122.
      11   this morning for the first time. We're going     11         Q. How long have you lived at that
      12   to take your deposition today. Have you ever     12      address?
      13   given a deposition before?                       13         A. A little over four years.
      14       A. No.                                       14         Q. Where were you before that?
      15       Q. And I'm sure your attorney has            15         A. Do you want the actual address or --
      16   spoken with you about what this involves, but    16         Q. Yes. Just for the -- what was the
      17   this is a question and answer session. I'm       17      address before that?
      18   here to ask questions about the claim that you   18         A. 5700 St. Anthony Avenue, New
      19   brought and some of the history behind it and    19      Orleans, Louisiana, 70122. I believe I was in
      20   some background details of you. And I'm not      20      Apartment 120.
      21   here to try to trick you. I'm not here to try    21         Q. Okay. How long were you there?
      22   to get you to say something that is not true     22         A. About two years.
      23   as you perceive it. I'm here to get              23         Q. Are you a native Louisianian?
      24   information because you brought the claim and    24         A. No.
      25   you're in the best position to tell me about     25         Q. Where are you from, originally?
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       1       A. I'm a military kid, but I spent most       1         A. I went to work at a high school in
       2   of my life in Washington, near Seattle.           2      New Orleans East for about a year and a half.
       3       Q. Is that where you were born, in            3         Q. As a teacher?
       4   Seattle?                                          4         A. I was an administrative -- I was an
       5       A. No. I was born in San Diego.               5      executive assistant and a talent person.
       6       Q. Okay. Military, I understand the           6      Mostly, executive assistant.
       7   kids go wherever the enlisted parent goes or      7         Q. What school was that?
       8   is assigned, but you spent the majority of        8         A. That was Abramson Sci Academy.
       9   your childhood before coming to New Orleans --    9         Q. S-A-I?
      10   is that a fair statement -- in the Seattle       10         A. S-C-I.
      11   area?                                            11         Q. S-C-I. Okay. What about after
      12       A. Yes.                                      12      that?
      13       Q. Okay. What year did you move to           13         A. After that, I went to work for
      14   Louisiana?                                       14      Firstline Schools. I started as an
      15       A. 2012.                                     15      administrative assistant and then I moved into
      16       Q. For what reason?                          16      human resources.
      17       A. To go to college.                         17         Q. How long were you there?
      18       Q. Where did you go to college?              18         A. A little over five years.
      19       A. Xavier University of Louisiana.           19         Q. So that brings us up to, roughly,
      20       Q. You started in 2012?                      20      2022?
      21       A. Yes.                                      21         A. No. I started there in 2018.
      22       Q. Did you graduate?                         22         Q. Okay.
      23       A. Yes.                                      23         A. And then I left this past May.
      24       Q. What year did you graduate?               24         Q. Okay. Until May of 2024?
      25       A. 2015.                                     25         A. Correct.

                                              Page 10                                                  Page 12
       1       Q. What degree did you receive?               1          Q. Okay. Where are you currently
       2       A. I was an English major with a minor        2      employed? Or are you currently employed?
       3   in creative writing.                              3          A. I am currently employed. I work for
       4       Q. Any schooling beyond that?                 4      LSU Health in human resources.
       5       A. No.                                        5          Q. What is your job title?
       6       Q. After graduating in 2015, what did         6          A. HR systems specialist.
       7   you do? Did you find a job?                       7          Q. What does that mean? What does that
       8       A. Yes.                                       8      job entail?
       9       Q. Where did you work first after             9          A. What that looks like is, we help to
      10   college?                                         10      be kind of the liaisons between IT and the HR
      11       A. My first job after college was two        11      team with like the HRIS system, which stands
      12   years as an AmeriCorps member with an            12      for Human Resources Integration System, so --
      13   organization called City Year.                   13      where people do their pay and put in leave and
      14       Q. City --                                   14      all that.
      15       A. Year.                                     15          Q. Sure. All their benefits and
      16       Q. City Year. Okay. Tell me about            16      everything else?
      17   that. I'm not familiar.                          17          A. Uh-huh.
      18       A. So it's an organization that works        18          Q. And you've been there since,
      19   in urban education. So I did small groups        19      roughly, May of this year, 2024?
      20   with students for two years.                     20          A. I started in August.
      21       Q. So it was a City Two Years for you?       21          Q. Started in August. So it's recent.
      22       A. Yes. My second year, I was the team       22      You've been there a little over a month then?
      23   leader.                                          23          A. Coming up on two months.
      24       Q. Okay. What about after that? Where        24          Q. Coming up on two months. Very good.
      25   did you work?                                    25      Are you married?
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       1      A. Yes.                                        1      Read, how long have you had that?
       2      Q. What is your husband's name? Or             2         A. I believe that one started in 2021.
       3   that's a -- I'm sorry. What is your spouse's      3         Q. Tumblr, what is your handle there?
       4   name? Let's say it that way.                      4         A. My handle is Midaeros.
       5      A. It's my husband. His name is                5         Q. How long have you had your Tumblr
       6   Emmanuel James Detiege.                           6      account?
       7      Q. When were you and Emmanuel married?         7         A. I'm not sure how long I've had that
       8      A. You want the exact date?                    8      account.
       9      Q. Sure.                                       9         Q. Okay. And Reddit, what's your
      10      A. February 29, 2020.                         10      handle there?
      11      Q. All right. On Leap Day. Any                11         A. Teach Me How To SCHWA.
      12   children?                                        12         Q. Teach Me How To SCHWA?
      13      A. Yes. One.                                  13         A. Yes.
      14      Q. How old is your child?                     14         Q. Is this an English major joke?
      15      A. He just made nine months.                  15         A. Yes.
      16      Q. Forgive this question. I have to           16         Q. Okay. How long have you had that
      17   ask everybody. Have you ever been convicted      17      account?
      18   of a crime?                                      18         A. About seven years.
      19      A. No.                                        19         Q. Now, of your -- and we'll get to
      20      Q. Have you ever declared bankruptcy?         20      your Twitter or X account in a second, but of
      21      A. No.                                        21      your -- the social media platforms that you
      22      Q. Have you ever been involved in             22      use, which are you most engaged with? Which
      23   another lawsuit of any kind, whether as the      23      do you use most frequently?
      24   plaintiff, as you are in this one, or as a       24         A. Twitter.
      25   defendant, where somebody filed suit against     25         Q. Far away?

                                              Page 14                                                  Page 16
       1   you?                                              1         A. Yes.
       2      A. No.                                         2         Q. Can you tell me why that is?
       3      Q. I'm going to jump now to your social        3         A. I communicate with a lot of friends
       4   media presence. I know that you're an avid        4      on Twitter, and it's kind of a short form
       5   user of Twitter or X, as it's called now.         5      social media site and so I can, you know, kind
       6   Other than that, what social media accounts do    6      of quickly send and react to things.
       7   you have with what platforms?                     7         Q. And what is your date of birth?
       8      A. I have Facebook, Instagram, Tumblr,         8         A. October 25th, 1994.
       9   Reddit.                                           9         Q. We share a birthday.
      10      Q. What is your Facebook handle?              10         A. Oh.
      11      A. It is my name, Maya Clark Detiege.         11         Q. 19 --
      12      Q. How long have you been a Facebook          12         A. 1994.
      13   user?                                            13         Q. 1994. Separated by a couple of
      14      A. Since 2008 or 2009.                        14      years. All right. Now, as -- I'm going to
      15      Q. What about your Instagram account?         15      call it Twitter, because I find calling it X
      16   What is your handle there?                       16      to be awkward. Is that okay with you?
      17      A. My handle there is Midaeros,               17         A. I would prefer that. Yes.
      18   M-I-D-A-E-R-O-S. And then, I also have an        18         Q. Very good. So as for your Twitter
      19   account where, I believe, the handle is What     19      account, when did you first obtain a Twitter
      20   Did We Just Read.                                20      account, to the best of your recollection?
      21      Q. How long have you had the Midaeros         21         A. I'm not sure when I first obtained
      22   handle on Instagram?                             22      my Twitter account off of the top of my head.
      23      A. I believe I've had that account            23      I believe it was probably 2017.
      24   since maybe 2014.                                24         Q. And do you have just the one Twitter
      25      Q. And your other one, What Did We Just       25      account?
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       1      A. No. I have four Twitter accounts.           1          A. Correct.
       2      Q. All right. I'm aware of one that            2          Q. Is that a public account?
       3   was mentioned in connection with this lawsuit,    3          A. Yes.
       4   Midaeros. You referenced that handle as being     4          Q. How long have you operated that
       5   used on a couple of other platforms, as well.     5      handle?
       6   Can you tell me what that handle means?           6          A. I believe for two or three years.
       7      A. It's based off of a nickname that I         7          Q. And you mentioned a fourth one?
       8   had online in high school that I shortened.       8          A. That handle is What Did We Read.
       9      Q. What was the full nickname?                 9          Q. Same as what you have on -- well,
      10      A. Mimi Dae, D-A-E, Roscoe.                   10      close to what you have on Instagram?
      11      Q. All right. So you've had that              11          A. Yes. Twitter has slightly shorter
      12   account or that handle in use on Twitter         12      allowances for handles.
      13   since, roughly, 2017?                            13          Q. When did you start that account?
      14      A. I'm not sure if that was my handle         14          A. In 2021.
      15   the entire time, but, at least, for the last     15          Q. Is that also a public account?
      16   few years.                                       16          A. Yes.
      17      Q. Okay. What are the other handles           17          Q. Of the four accounts you just
      18   which you use on Twitter?                        18      mentioned, which one do you use the most?
      19      A. I have an account that is Midaeros         19          A. Midaeros.
      20   Priv, but all of the vowels in Midaeros are      20          Q. Does anyone other than you have
      21   underscores and Priv is P-R-I-V.                 21      access to your Midaeros account?
      22      Q. The vowels are replaced by                 22          A. No.
      23   underscores?                                     23          Q. What do you use to access the
      24      A. Yes. So it would be M_D__R_S               24      account? Is it something that you use your
      25   P-R-I-V.                                         25      phone, laptop, desktop, all of the above?

                                              Page 18                                                  Page 20
       1       Q. P_V? No?                                   1          A. Primarily, my phone. Occasionally,
       2       A. No.                                        2      I will use a laptop.
       3       Q. P-R-I-V?                                   3          Q. Are you the only one that has access
       4       A. P-R-I-V.                                   4      to that account?
       5       Q. Got it. How long have you operated         5          A. Yes.
       6   that account?                                     6          Q. Has anyone other than you ever
       7       A. I think for about two or three             7      posted anything on that account under that
       8   years.                                            8      handle?
       9       Q. And I'm assuming the P-R-I-V is for        9          A. Yes. Sometimes, if I leave my phone
      10   private?                                         10      unattended, my husband will send tweets.
      11       A. Correct.                                  11          Q. How, in that situation, can you or
      12       Q. Does that mean that only people that      12      can a user distinguish between you being the
      13   you invite to have access to that site can see   13      one posting a tweet versus something that
      14   what you post there?                             14      comes from the person who actually operates
      15       A. Correct.                                  15      the handle?
      16       Q. How long have you had that one; two       16          A. If you did not know me, no. But my
      17   or three years, you said?                        17      friends can typically tell that, you know, my
      18       A. Correct.                                  18      husband will be saying something nice about
      19       Q. What other handles do you use on          19      himself or something joking that I would not
      20   Twitter?                                         20      say.
      21       A. I have a handle that is Marley Dean       21          Q. To generalize the focus of that, the
      22   Books.                                           22      tweets or the interactions through Twitter
      23       Q. Spell Marley for me?                      23      that are the subject of this lawsuit, were all
      24       A. M-A-R-L-E-Y.                              24      of those tweets posted by you, Maya Detiege?
      25       Q. Dean is D-E-A-N?                          25          A. Yes.
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       1      Q. Anyone other than your husband ever         1      are residents of New Orleans, Louisiana or
       2   access or use your Midaeros Twitter account?      2      Louisiana as a whole, is a pretty small group.
       3      A. No.                                         3             MR. PETTIGREW:
       4      Q. Do you have an estimate of how many         4                 I'll object to the form of the
       5   times that that has occurred?                     5          question.
       6      A. Five.                                       6             THE WITNESS:
       7      Q. Okay. So an infrequent occurrence           7                 Yes. That is a small
       8   where he would take your phone and have access    8          contingent in the city.
       9   to your Twitter account?                          9      BY MR. HAYES:
      10      A. Correct.                                   10          Q. What brought you to or caused you to
      11      Q. Do you have your driver's license          11      be a fan of the Seattle Kraken?
      12   with you?                                        12          A. I had kind of heard a little bit
      13      A. Yes.                                       13      about hockey and Seattle was getting a team at
      14      Q. May I take a picture of that?              14      a time when I was feeling a little bit
      15      A. Uh-huh.                                    15      homesick for Seattle and so I said hey, let's
      16          MR. HAYES:                                16      see if I enjoy hockey and now, it is a large
      17            Any objection?                          17      part of what I talk about online.
      18          MS. SCHWARTZMANN:                         18          Q. When did Seattle get their team?
      19            Do you have any private                 19          A. In 2021 is when they had their first
      20       information on there?                        20      season.
      21          THE WITNESS:                              21          Q. That was my recollection. It was
      22            Nothing that would not be --            22      pretty recent. Okay. But you already had
      23   BY MR. HAYES:                                    23      your page for your Twitter, Midaeros Twitter
      24      Q. Nothing beyond your address and --         24      handle in use for a few years before that came
      25   your Social Security number is not included on   25      into being, correct?

                                               Page 22                                                 Page 24
       1   your driver's license; is that correct? Look      1        A. I was already using Midaeros by the
       2   to make sure.                                     2     time the Seattle Kraken started.
       3       A. No.                                        3        Q. At what point did the Seattle Kraken
       4       Q. Okay. I don't think that that's            4     focus on that Twitter page come into being?
       5   included on the driver's license anymore.         5     Did it coincide with the inception of the
       6   Thank you, ma'am.                                 6     Seattle Kraken professional hockey team?
       7           Now, when we open your -- if we go        7        A. Yes.
       8   to your Midaeros Twitter page and we open it,     8        Q. And since -- so roughly, 2021?
       9   currently, it identifies -- primarily, the        9        A. Yes.
      10   first thing that I saw when I opened it has to   10        Q. Since that time, has that been the
      11   do with being the fan of the German Gentleman    11     primary focus of your -- of the topics
      12   Number One Fan, and that's a reference to the    12     addressed or posted about on your Midaeros
      13   Seattle Kraken hockey goalie. And I now          13     Twitter page?
      14   understand, from what you told me about your     14        A. Yes. Hockey is most of what I talk
      15   history, that you grew up and spent a large      15     about.
      16   part of your time growing up in the Seattle      16        Q. What other identifying information
      17   area, and I'm assuming that's how you            17     would we see if we opened up your Twitter page
      18   developed a support for Seattle-based sports     18     today?
      19   teams?                                           19            MR. PETTIGREW:
      20       A. Yes.                                      20               Object to form.
      21       Q. Okay. But you hesitated a little          21            THE WITNESS:
      22   bit. Tell me why? Or is there something          22               In what regard?
      23   particular about the Seattle Kraken? Because     23     BY MR. HAYES:
      24   I haven't done a survey, but I would bet the     24        Q. Well, are there any photos
      25   number of Seattle Kraken hardcore fans that      25     identifying you? Is there anything
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       1   identifying your state of residence or city of    1             MR. PETTIGREW:
       2   residence?                                        2                 I'll object to the form of that
       3          MR. PETTIGREW:                             3          question, as well.
       4              I'll object to form to that, as        4             THE WITNESS:
       5       well.                                         5                 My bio is the first thing you
       6          THE WITNESS:                               6          see when you open my profile.
       7              My profile picture is of me.           7      BY MR. HAYES:
       8       I'm not facing the camera, but it is of       8          Q. And what does that consist of, to
       9       me. And then, my pinned tweet is a            9      your recollection?
      10       picture of me and my bio also indicates      10          A. To my recollection, it has my name.
      11       that I am from New Orleans.                  11      It has, I believe, reference to the German
      12   BY MR. HAYES:                                    12      Gentleman nickname in a couple of spots. It
      13      Q. And that's as we sit here today?           13      has -- I believe it has reference to my
      14      A. Yes.                                       14      interests on Twitter. My age. And then, I
      15      Q. The profile pic that you referenced,       15      have the location turned on to say New
      16   you're not facing the camera?                    16      Orleans.
      17      A. Correct.                                   17          Q. And has the locations showing New
      18      Q. How long has that been the profile         18      Orleans, as you -- has the location been
      19   pic?                                             19      turned on to say New Orleans since you began
      20      A. That has been my profile picture           20      operating that Twitter handle?
      21   since February of 2022.                          21             MR. PETTIGREW:
      22      Q. Do you recall what your profile pic        22                 I'll object to form. Or
      23   was before that?                                 23          objection to form.
      24      A. No.                                        24             THE WITNESS:
      25      Q. But since February of 2022, that           25                 I believe it has said New

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       1   consistently has been your profile pic?           1          Orleans since I started to become
       2       A. There was a one-month period from          2          interested in hockey.
       3   April 29th of 2022 until the end of May of        3      BY MR. HAYES:
       4   2022 where my profile picture was the picture     4         Q. Okay. So roughly, 2021 -- is that
       5   that is my pinned tweet on Twitter.               5      correct -- that you begin referencing New
       6       Q. And the pinned tweet you're                6      Orleans as your location?
       7   referring to is a picture of you at what looks    7         A. Yes.
       8   to be a Seattle Kraken hockey game, holding a     8         Q. To your recollection, is there any
       9   puck?                                             9      other identifying information concerning you
      10       A. Yes.                                      10      personally in that biographical section?
      11       Q. Or standing next to somebody holding      11         A. Not to my recollection.
      12   a puck and I believe you're holding a sign,      12         Q. With regard to your other Twitter
      13   cheering the Seattle Kraken goalie; is that      13      handles that you use, is there ever any
      14   correct?                                         14      cross-posting of -- is there a post that you
      15       A. I am holding the puck and the sign.       15      would create and then post across all the
      16       Q. The puck and the sign. I don't want       16      handles that you use or are they each kept in
      17   to diminish the pose there. When was that        17      their own separate lane, so to speak?
      18   picture taken?                                   18         A. There might be some cross-posting.
      19       A. That picture was taken April 29th of      19      So with the What Did We Just Read account, if
      20   2022.                                            20      we had posted something from that account, I
      21       Q. And you said the bio section, the         21      might repost it to get more traction to that
      22   biographical section that you referenced on      22      account. And occasionally, when I post to my
      23   your Twitter page, is there a tab that you       23      Midaeros account, I might expound on that on
      24   click to see that or is that apparent from the   24      my private account, if there's information
      25   very top of your page?                           25      that I would not want to be made public.
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        1      Q. Turning now, specifically, to the           1      your lawsuit. And I'm looking at the first
        2   events giving rise to this lawsuit. In            2      amended petition, Paragraph 47. If you look
        3   looking at your petition, they seem to arise      3      at that -- and this is what -- 47. I'm sorry.
        4   primarily from a series of tweets that            4      I'll give you a moment to read that. And this
        5   occurred around June 24th through the 26th,       5      is the -- this is from the amended complaint
        6   2022. Is that an accurate statement, to the       6      that your attorneys filed on your behalf,
        7   best of your recollection?                        7      correct?
        8      A. Yes.                                        8           A. Correct.
        9      Q. Okay. Tell me, to the best of your          9           Q. Did you have a chance to review this
       10   recollection, what first got your attention      10      before it was filed?
       11   with regard to Senator Jackson's Twitter page?   11           A. Yes.
       12   Do you remember when you first became aware of   12           Q. And so you, at that time, confirmed
       13   her having a Twitter page?                       13      that this was an accurate reflection of the
       14          MR. PETTIGREW:                            14      tweets that you made on June 24th, 2022?
       15             Objection to form.                     15           A. Yes.
       16          THE WITNESS:                              16           Q. And the -- I tell you what. I'm
       17             I believe I might have seen a          17      going to let you read it, so you --
       18       tweet that referenced her.                   18           A. You want me to read all of 47?
       19   BY MR. HAYES:                                    19           Q. No, ma'am. Just the part that's in
       20      Q. Do you recall when that was?               20      quotes, where your tweet is.
       21      A. No.                                        21           A. "I say this with all disrespect:
       22      Q. Was it close in time to the June           22      Burn in hell. You don't care about women.
       23   24th through 26th time period I mentioned        23      You don't care about pregnant people. You
       24   earlier?                                         24      don't care about children. You don't care
       25      A. I believe so.                              25      about education. I do not support all black

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        1       Q. Do you recall the subject matter           1      women. Some of you bitches are very dumb."
        2   that you saw at that time that caused you to      2         Q. And that was said in response to the
        3   notice Senator Jackson's Twitter page?            3      Trigger bill that passed where Louisiana was
        4       A. No.                                        4      following the precedent set by the US Supreme
        5       Q. Turning specifically to June 24th          5      Court which overturned Roe v. Wade?
        6   through the 26th, 2022, do you recall the         6             MR. PETTIGREW:
        7   issue that was being discussed via Twitter        7                Objection to form.
        8   during that time period that gave rise to your    8             THE WITNESS:
        9   posting on Senator Jackson's comment section?     9                Yes. That was in response to
       10       A. This would have been related to the       10          that.
       11   Trigger bill that went into effect after Roe     11      BY MR. HAYES:
       12   v. Wade was repealed.                            12         Q. And there was some more back and
       13       Q. And I take it you disfavor the            13      forth. And then, there was a response by a
       14   pro-life bills? You're a pro-choice advocate;    14      user named Mung, referenced here in Paragraph
       15   is that a fair statement?                        15      49 of the first amended petition, responding
       16       A. That is a fair statement.                 16      to Jackson, Senator Jackson's tweets. "Maybe
       17       Q. Do you recall when you first --           17      you should have set that up before Roe was
       18   specifically, what the first tweet on Senator    18      overturned? Too late now." Do you have any
       19   Jackson's page that you responded to?            19      idea who Mung is?
       20       A. I don't know what the exact tweet         20         A. No.
       21   said.                                            21         Q. Okay. That's not somebody that you
       22       Q. Okay. Do you recall what your tweet       22      know in real life? That's just a name on
       23   or your comment said?                            23      Twitter?
       24       A. I have an idea about what it said.        24         A. Correct.
       25       Q. And I believe it's referenced in          25         Q. And ultimately, after some back and
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        1   forth with Senator Jackson, what happened?       1   BY MR. HAYES:
        2      A. I was blocked on Twitter.                  2      Q. How did you come to secure counsel
        3      Q. At any -- blocked from Twitter             3   and to decide to proceed with filing a suit?
        4   entirely or from a specific area of Twitter?     4   And I'm not asking about conversations that
        5          MR. PETTIGREW:                            5   you had with your attorney. I don't want
        6             Objection to form.                     6   anything that would be protected -- I don't
        7          THE WITNESS:                              7   want to hear anything that your attorneys told
        8             I was blocked from being able          8   you or advice they gave you. I'm asking about
        9       to see Senator Jackson's tweets.             9   the process that you went through in deciding
       10   BY MR. HAYES:                                   10   to bring suit as a result of this.
       11      Q. Blocked from accessing her Twitter        11          MS. SCHWARTZMANN:
       12   page?                                           12             Can you clarify your question?
       13      A. Correct.                                  13   BY MR. HAYES:
       14      Q. At any point in your exchange with        14      Q. How did you decide to bring a
       15   Senator Jackson, did you identify yourself as   15   lawsuit as a result of being blocked on
       16   a New Orleans, Louisiana resident?              16   Twitter? Again, not asking about advice given
       17      A. No.                                       17   to you by your attorneys.
       18      Q. Did you identify yourself as a woman      18          MR. PETTIGREW:
       19   who was living in Louisiana in any way?         19             I'll object to form.
       20      A. Not directly.                             20          MS. SCHWARTZMANN:
       21      Q. Did you provide any identifying           21             It feels like it calls for
       22   information about yourself?                     22       communication with counsel. If you're
       23      A. Not via the tweets. No.                   23       trying to get to her thought process
       24      Q. Have you ever voted in -- had the         24       about why she decided to take action,
       25   opportunity to vote in an election where        25       legal action --

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        1   Senator Jackson was listed as a candidate on     1   BY MR. HAYES:
        2   your voting form?                                2       Q. All right. How did you decide to
        3      A. Not that I recall.                         3   seek legal counsel in connection with being
        4      Q. Best of your recollection, you've          4   blocked on Twitter?
        5   never been a constituent that had the            5          MR. PETTIGREW:
        6   opportunity to vote for her into any public      6              I'll object to privilege.
        7   office that she was running for, correct?        7   BY MR. HAYES:
        8      A. No.                                        8       Q. I'm talking about before you had
        9      Q. Your whole time that you've lived in       9   engaged counsel, before you talked to an
       10   the State of Louisiana, you've lived in the     10   attorney, what made you think, I need to go
       11   New Orleans area; is that correct?              11   hire an attorney to pursue this for me?
       12      A. Correct.                                  12       A. I knew from -- I had heard
       13      Q. Now, you were blocked on June 26th,       13   previously that it was not legal for elected
       14   2022; is that correct, to the best of your      14   officials to block constituents via their,
       15   recollection?                                   15   like, official accounts.
       16      A. I believe so.                             16       Q. And because you'd heard that it was
       17      Q. And this lawsuit, the original            17   not legal, did you decide to go and attempted
       18   petition -- one second. The original petition   18   to locate legal counsel?
       19   was filed on February 9th, 2023, so roughly,    19       A. Yes.
       20   eight months later; is that correct, to the     20       Q. And did you -- immediately, were you
       21   best of your collection?                        21   able to identify the attorneys who currently
       22          MR. PETTIGREW:                           22   represent you in this -- that filed suit on
       23              Objection to form.                   23   your behalf or did you have to go through the
       24          THE WITNESS:                             24   process of seeking other counsel first?
       25              Yes.                                 25
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        1         MS. SCHWARTZMANN:                        1          routinely ask in the course of
        2            I'm going to object. This is          2          depositions, and I've never been denied
        3      in privileged territory. The fact of        3          finding out when an attorney was hired
        4      asking for legal representation is          4          in the scope of representation.
        5      privileged. And I also don't see any        5             MS. SCHWARTZMANN:
        6      relevance, so if it --                      6                 I think this is -- I think
        7         MR. HAYES:                               7          you're treading into privileged
        8            I'm curious as to how the             8          territory. If she remembers, I'm okay
        9      process evolved. And I mean, relevance      9          with her answering when she retained
       10      is not a proper objection in the context   10          counsel, but we are going to absolutely
       11      of a deposition. And I'm not asking for    11          object to any communications with any
       12      privileged communications. I'm not         12          lawyers, us or anybody else.
       13      asking for anything that she was told.     13             MR. HAYES:
       14      I'm asking about the thought process       14                 Again, I'm not asking for
       15      behind the decision to seek counsel and    15          substance of communications that she
       16      what that involved in order to find an     16          initiated with attorneys.
       17      attorney to represent her in this          17      BY MR. HAYES:
       18      context.                                   18         Q. I'm asking about when you retained
       19         MS. SCHWARTZMANN:                       19      counsel.
       20            Well, I think she just told you      20         A. I believe that would have been
       21      that she thought it was illegal and so     21      around August of 2022.
       22      she decided to seek counsel. So the        22         Q. How did you find out about the
       23      question of which lawyer she spoke to      23      existence of the First Amendment Law Clinic at
       24      and when is absolutely privileged, so we   24      Tulane University?
       25      will instruct her not to answer.           25


                                             Page 38                                                  Page 40
        1   BY MR. HAYES:                                  1             MR. HAYES:
        2     Q. Did you have to speak with more than      2                 I don't know how any of that
        3   one attorney before securing counsel?          3          could be privileged.
        4         MR. PETTIGREW:                           4             THE WITNESS:
        5            I'll object to privilege, as          5                 I don't recall exactly, but it
        6      well.                                       6          was -- I was looking -- I knew that it
        7         MR. HAYES:                               7          was a First Amendment rule, so I was
        8            Again, I'm not asking for the         8          looking for First Amendment -- I think I
        9      topic of discussion. I'm asking if that     9          probably went through the ACLU first. I
       10      occurred.                                  10          believe I was referred by someone else,
       11         MS. SCHWARTZMANN:                       11          but I don't remember who.
       12            The fact of seeking legal            12      BY MR. HAYES:
       13      representation is privileged. The act      13         Q. Okay. Fair enough. Prior to filing
       14      of consulting a lawyer is privileged.      14      suit, did you ever see anything posted
       15         MR. HAYES:                              15      anywhere on Twitter or other social media
       16            I think -- I disagree with you       16      seeking people who had been blocked on Twitter
       17      on that, until it gets down to the scope   17      or other social media platforms seeking for
       18      of representation, actual legal advice     18      them to come forward?
       19      given.                                     19         A. Can you say that again?
       20   BY MR. HAYES:                                 20         Q. Prior to engaging your counsel in
       21     Q. When did you secure legal counsel?       21      this case, did you ever see anything on
       22         MR. PETTIGREW:                          22      Twitter or other social media where people
       23            Objection to privilege.              23      were posting about seeking people who had been
       24         MR. HAYES:                              24      blocked by a public official on social media?
       25            This is something that I             25
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        1          MR. PETTIGREW:                             1          Q. Where does Sofia Perry live, if you
        2              Objection to form. You can             2      know?
        3       answer.                                       3          A. Washington State.
        4          THE WITNESS:                               4          Q. And you referenced another
        5              No.                                    5      individual that you met after suit was filed.
        6   BY MR. HAYES:                                     6      Who was that person?
        7       Q. Have you, since the lawsuit has been       7          A. Her handle is Paigey Spice,
        8   filed, seen anything posted on Twitter seeking    8      P-A-I-G-E-Y S-P-I-C-E.
        9   people who had been blocked by public             9          Q. And what is that person's real name,
       10   officials, specifically, Senator Jackson, to     10      if you know?
       11   come forward and identify themselves?            11          A. I know her first name is Paige.
       12       A. No.                                       12          Q. Okay. Do you know where Paige
       13       Q. Present with us here today in the         13      lives?
       14   room is Mr. Dayne Sherman, who's the other       14          A. She lives in Louisiana.
       15   plaintiff in your lawsuit. Did you know Mr.      15          Q. Do you know where in Louisiana?
       16   Sherman outside of the context of this           16          A. No.
       17   lawsuit?                                         17          Q. Any others that you can think of?
       18       A. No.                                       18          A. No.
       19       Q. Never met anywhere before?                19          Q. In connection with this lawsuit,
       20       A. No.                                       20      what do you hope to recover or accomplish?
       21       Q. Was today the first time you'd met        21          A. I would like to be unblocked on
       22   in person?                                       22      Twitter by Senator Katrina Jackson.
       23       A. Yes.                                      23          Q. Is there anything else that you hope
       24       Q. There's several additional users          24      to accomplish, other than being unblocked on
       25   that are referenced in your lawsuit that --      25      Twitter?

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        1   some are referenced by name and some are          1          A. Personally, I would hope that she
        2   referenced by Twitter handle. I can let you       2      doesn't block anyone else unless they are
        3   look through them. But do you know whether        3      engaging in legitimate hate speech, because I
        4   you're aware of having met any of the people      4      believe that as an elected official, she
        5   identified within your lawsuit in real life?      5      should be accountable for the things that she
        6      A. One person that has been identified,        6      says related to legislation that she's engaged
        7   I knew previously and another one, I met          7      in.
        8   through the course of talking about Senator       8             MR. HAYES:
        9   Jackson, and I met her in person this year.       9                Let's go off the record
       10      Q. Who are those two people, the first        10          briefly.
       11   one -- first, the person you knew previously.    11         (A short break was taken at this time.)
       12   Who was that person?                             12      BY MR. HAYES:
       13      A. That would be the handle Grim              13          Q. All right. Back on the record. So
       14   Feminie. If she's -- I believe she's             14      the different Twitter accounts that you have,
       15   mentioned in there.                              15      you listed them all before. You've got
       16      Q. Rather than searching, can you spell       16      Midaeros and then, the Midaeros Private or
       17   that for me?                                     17      Priv, Marley Dean Books, and What Did We Read.
       18      A. G-R-I-M F-E-M-I-N-I-E.                     18      Why do you have all of those different
       19      Q. And did you know this person by            19      accounts?
       20   their real name or only by their Twitter         20          A. My Midaeros account is my public
       21   handle?                                          21      account. That's the account that I use to be
       22      A. I know them by their real name.            22      my most self. My Midaeros Priv account is
       23      Q. What is that person's real name?           23      because there are just some things that I
       24      A. Her name is Sofia, S-O-F-I-A, Perry,       24      wouldn't maybe talk about with Twitter friends
       25   P-E-R-R-Y.                                       25      who've become close friends, but I wouldn't
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        1   put online. For instance, I don't talk about      1         A. Yes.
        2   my son. Like, I don't even share his gender       2         Q. Where did that drawing come from?
        3   online. But there are things that I might         3         A. A Twitter friend drew that.
        4   share on that private account with my friends     4         Q. Do you still use that?
        5   if I'm talking about something. Marley Dean       5         A. I believe so.
        6   Books is because I would like -- I would like     6         Q. During the June 24th through 26th
        7   to publish a book some day, so that's the pen     7      exchanges with Senator Jackson, was there
        8   name that I would use. And then, the What Did     8      anything that identified you, Maya Detiege, as
        9   We Just Read is, I had a podcast with my best     9      the owner of that page visible on your Twitter
       10   friend where we talked about books, and so we    10      page?
       11   wanted to -- you know, you need to have social   11         A. My first name has always been in my
       12   media if you want to grow any kind of            12      bio. I don't put my last name online.
       13   following.                                       13         Q. Were there any other pictures
       14        Q. Understood. With regard to -- you        14      identifying you, other than the one you
       15   described on your Midaeros account what you      15      described where you were standing in front of
       16   see today if you open it. Do you know if that    16      the brick wall of your house with your back
       17   is different than what a general user -- for     17      mostly to the camera?
       18   example, if I went to your Twitter page, would   18         A. The photo of me at Climate Pledge
       19   I see the same information posted at the         19      Arena with the sign and the hockey puck is
       20   header as what another user would see?           20      also -- like, the next thing that you see
       21        A. Yes.                                     21      down.
       22        Q. Okay. No difference, to your             22         Q. The pinned photo that was taken in
       23   knowledge?                                       23      April of 2022?
       24        A. No.                                      24         A. Yes. The text, like with my quote
       25        Q. The profile picture that you used --     25      tweet for it might have been different, but

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        1   that you were using during the June 24th          1      it's always been that picture since April of
        2   through June 26th exchange with Katrina           2      2022.
        3   Jackson, what -- tell me what that was?           3          Q. But it's your testimony that the
        4      A. Describe the picture?                       4      pinned photo of you at the hockey game and the
        5      Q. Yes, ma'am?                                 5      picture of you standing in front of the wall
        6      A. The picture is me standing in front         6      at your house were -- those were both present
        7   of a brick wall at my house. I am mostly          7      at the time of your exchange with Senator
        8   faced away from the camera, but you can kind      8      Jackson, June 24th through June 26th of 2022?
        9   of see my face. I'm wearing a Seattle Kraken      9          A. Absolutely.
       10   hat and a Seattle Kraken jersey and I am         10          Q. And what about your bio line? Do
       11   displaying my nails next to the hat.             11      you believe that that was the same during that
       12      Q. And similarly, tell me again, during       12      time period as what you described earlier,
       13   that June 24th through June 26th, 2022 period,   13      which included your name, reference to the
       14   what was your cover photo or cover image at      14      German Gentleman nickname, your age and your
       15   that time?                                       15      location being in New Orleans?
       16      A. So there's like a header photo that        16          A. Yes.
       17   probably was -- I'm not quite sure what that     17          Q. Have you tried looking at your
       18   was. It might have been a picture -- like a      18      account from the account of another user to
       19   cartoon drawing of Philipp Grubauer, the         19      see what another user sees when they go to
       20   goalie for the Seattle Kraken. And then, my      20      your page?
       21   pinned tweet would have been the photo of me     21          A. No. But it's the same for everyone
       22   with the hockey puck and the sign at Climate     22      on Twitter. Twitter doesn't really change
       23   Pledge Arena.                                    23      that. I believe, the only thing that I might
       24      Q. You described it as a cartoon              24      be able to see that nobody else would see is
       25   drawing of the goalie, Grubauer?                 25      my birthday.
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        1     Q. Okay.                                    1        break.
        2        MR. HAYES:                               2          MS. SCHWARTZMANN:
        3            Do y'all have any follow-up          3              Okay.
        4     questions?                                  4          MR. HAYES:
        5        MS. SCHWARTZMANN:                        5              Okay. Sure.
        6            We do, I think. Is the Senator       6      (A short break was taken at this time.)
        7     still on the phone?                         7   BY MR. HAYES:
        8        MR. HAYES:                               8       Q. The one clarification -- and I've
        9            She is still on the phone.           9   got a printout of -- I'm sorry. Are we back
       10        MS. SCHWARTZMANN:                       10   on the record? Yes. Okay. It wouldn't print
       11            Okay. Good. I just wanted to        11   with the photo that accompanied it. This is a
       12     make sure. We weren't sure if she was      12   printout from the pinned picture that you have
       13     still here.                                13   without the picture itself, but it's got the
       14        MR. HAYES:                              14   caption. Do you recognize that from looking
       15            No. She's still here. The --        15   at it here today?
       16     I'm just trying to clarify something. I    16       A. Uh-huh. Yes.
       17     think we can -- in order to move things    17       Q. Okay. Looking at the date here, it
       18     along, I can go ahead and pass for right   18   shows that it was pinned on October 12th of
       19     now and then, come back with any           19   2022 --
       20     follow-ups --                              20       A. Uh-huh.
       21        MS. SCHWARTZMANN:                       21       Q. -- whereas the picture was taken and
       22            Okay.                               22   posted by @seattlekraken on April 29th, 2022.
       23        MR. HAYES:                              23   Was October 12th the first time that you
       24            -- as long as there's not going     24   posted that as your pinned picture or had it
       25     to be any objections. I don't think        25   been used previously?

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        1     it's going to be plowing new ground.        1       A. It was previous -- it has been --
        2     It's going to be clarifying issues that     2   the picture has been part of my pinned tweet
        3     were already addressed.                     3   since it happened. It's one of the coolest
        4         MS. SCHWARTZMANN:                       4   things that's ever happened to me. I believe
        5            Sure. If there's any new             5   that the tweet that it was before October 12
        6     ground, we just would want to have the      6   was probably something to the effect of this
        7     opportunity to --                           7   is the coolest thing that's ever happened to
        8         MR. HAYES:                              8   me, and I just updated it when the new season
        9            To re-cross on that.                 9   started.
       10         MS. SCHWARTZMANN:                      10       Q. Got it. Okay.
       11            Yeah. But I think --                11            MR. HAYES:
       12         MR. HAYES:                             12                I'm going to pass at this
       13            Or re-direct on that. Okay.         13        point, and if I have something else,
       14         MS. SCHWARTZMANN:                      14        I'll circle back to it.
       15            But I think we're okay with         15            MS. SCHWARTZMANN:
       16     that. Are we all right with that, Team?    16                Got it.
       17     Okay.                                      17   BY MR. PETTIGREW:
       18         MR. PETTIGREW:                         18       Q. I'm going to show you this tweet.
       19            You think we could take a           19   We referenced this earlier. This is the --
       20     five-minute break before we do re-direct   20      (A discussion was had off the record.).
       21     or --                                      21   BY MR. PETTIGREW:
       22         MS. SCHWARTZMANN:                      22       Q. So I'm showing you what I'm marking
       23            You want to take a second?          23   as Exhibit 1. Do you recognize this tweet?
       24         MR. PETTIGREW:                         24       A. Yes.
       25            Yeah. Let's take a five-minute      25       Q. Is this a fair and accurate
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        1   representation of your tweet?                     1      Louisiana is a godly or Christian way to act,
        2       A. Yes.                                       2      and I wanted to indicate that I thought that
        3       Q. Okay. So why did you tweet this?           3      when she dies, I believe she's probably going
        4       A. I was really angry about the Trigger       4      to go to hell.
        5   law that went into effect in Louisiana.           5          Q. And can I point you to the third
        6       Q. Okay. And how did that bill impact         6      line? Can you read that first sentence for
        7   you?                                              7      me?
        8       A. As a result of that, I have no             8          A. "I do not suppose all black women."
        9   ability to access an abortion, if I would like    9          Q. Where did this phrase come from?
       10   an abortion. And also, there is an impact on     10          A. That comes from a common meme that
       11   my health, if I need medical care relating to    11      is used online. The whole sentence is, "I do
       12   a pregnancy.                                     12      not support all black women. Some of you
       13       Q. You mentioned that you were mad when      13      bitches are very dumb." That comes from a
       14   you tweeted this. Why were you upset at          14      meme that circulates around online.
       15   Senator Jackson?                                 15          Q. So this was a common phrase on
       16       A. I was angry because with the Trigger      16      Twitter?
       17   bill, there are impacts when people are          17          A. Yes.
       18   pregnant and how they can access medical care.   18          Q. And have you tweeted this phrase
       19   And in February of 2022, I experienced an        19      before?
       20   ectopic pregnancy and it was hard for me to      20          A. Yes.
       21   access medical care before the Trigger bill.     21          Q. Why else did you tweet this phrase?
       22   I believe the Trigger bill went into effect in   22          A. As a black woman, I believe -- you
       23   about May or something like that. And I was      23      know, I do support a lot of black people, but
       24   angry because, thinking about my ectopic         24      I think that there is this idea that as a
       25   pregnancy, even though there are suppose to be   25      black person or as a black woman or as a

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        1   some exceptions for ectopics, I had what is       1      woman, you need to support everything that
        2   called an interstitial ectopic pregnancy,         2      other black women or black people or women do,
        3   meaning that there was some -- the pregnancy      3      and that's not true. Other black women can be
        4   was not in my fallopian tube. It was right        4      wrong. And in this case, I was indicating
        5   outside of my fallopian tube. And so there        5      that I thought that Senator Jackson was wrong.
        6   was a lot of questions and ultrasounds that I     6         Q. Okay. I think we're finished with
        7   had to go to relating to my pregnancy that        7      this. That's Exhibit 1. And I want to
        8   delayed my care. And it was also just hard        8      clarify a few other things. So if someone
        9   for me to find someone to listen to me before     9      were to check on your Twitter page, would they
       10   the Trigger bill went into effect that           10      see your location?
       11   something -- I could tell something was wrong,   11         A. Yes.
       12   but no one would see me because they don't       12         Q. Okay. And what was the location at
       13   like to see people before a certain amount of    13      the time you were blocked by Senator Jackson?
       14   weeks. And I was angry because I knew that if    14         A. New Orleans, Louisiana.
       15   I, again, experienced an ectopic pregnancy,      15         Q. And Senator Jackson could see that
       16   that I could see a delay in my care due to the   16      location?
       17   Trigger bill going into effect, making doctors   17         A. Yes.
       18   more hesitant to treat pregnancies.              18         Q. And you testified earlier that you
       19       Q. So I want to point you to the first       19      didn't identify yourself in your Twitter
       20   line. Why did you use the phrase "burn in        20      communications with Senator Jackson. Did you
       21   hell"? Why did you use that language?            21      have any other communications with Senator
       22       A. With that, I was trying to appeal to      22      Jackson?
       23   Senator Jackson's religion. I know that she      23         A. Outside of Twitter?
       24   is a Christian and I don't feel that the         24         Q. Yes?
       25   Trigger bill and the way that it's enacted in    25         A. Yes. I sent an email to Senator
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        1   Jackson about the Trigger bill.                   1      A. "LOL. Yeah. That 3 million
        2       Q. Okay. And did you identify yourself        2   (0.0008% of the budget) is really game
        3   in that email?                                    3   changing. Thanks for the pennies, you -- "
        4       A. Yes. In that email, I identified           4   Then there's a clown emoji.
        5   myself as a Louisiana resident.                   5      Q. Why did you tweet this?
        6       Q. Moving on. So the same day you             6      A. In the previous exchange, Senator
        7   tweeted "burn in hell", you also -- did you       7   Jackson had talked about the work that she had
        8   have another exchange with Senator Jackson?       8   done with the budget, and I was pointing out
        9       A. Yes.                                       9   that that's really a pittance compared to the
       10       Q. Okay. I'm showing you what I'm now        10   total of the Louisiana state budget.
       11   marking as Exhibit 2. Okay. Like I said, I'm     11      Q. Okay. And did Senator Jackson
       12   now showing you what I'm marking as Exhibit 2.   12   respond to this tweet?
       13   Do you recognize this Twitter exchange?          13      A. Yes. She did.
       14       A. Yes.                                      14      Q. Can you read what she said?
       15       Q. Okay. And can you describe what's         15      A. She said, "Did you advocate for
       16   happening in this Twitter exchange?              16   more?"
       17       A. A Twitter user by the name of Mung        17      Q. And did you respond to that
       18   is talking to Senator Jackson about something    18   response?
       19   that should have been set up before Roe was      19      A. Yes. I quote tweeted that tweet and
       20   overturned. Senator Jackson goes onto talk       20   she blocked me before I was able to -- by the
       21   about some work she did relating to the          21   time I sent the tweet, I was blocked.
       22   budget. The person asks about paid sick          22      Q. Okay. So Senator Jackson was not
       23   leave, paid maternity leave, affordable child    23   able to see your response to that tweet,
       24   care and a living wage. And Senator Jackson      24   correct?
       25   states -- she's trying to say, you know, let     25      A. Not to my knowledge.

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        1   me understand this better. You were angered       1      Q. Okay. I want to return to the email
        2   by my bill? And talking about the bill.           2   that you sent to Senator Jackson about the
        3      Q. Okay. And what date did this                3   Trigger bill. Did Senator Jackson reply to
        4   exchange occur or did it start?                   4   the email you sent about her Trigger bill?
        5      A. This exchange started on June 24th          5      A. No.
        6   of 2022.                                          6      Q. Okay.
        7      Q. Okay. And what day did Katrina              7         MR. PETTIGREW:
        8   Jackson first respond?                            8            I think that's all the
        9      A. June 24th, 2022.                            9       questions we have.
       10      Q. Okay. And did you respond to this          10         MR. HAYES:
       11   tweet?                                           11            Can you give me just one
       12      A. I quote tweeted her tweet on               12       moment, please?
       13   June 24th, 2022.                                 13         MS. SCHWARTZMANN:
       14      Q. Okay. We're finished with that             14            Sure. Are we going off the
       15   exhibit. I'm now going to show you what I'm      15       record?
       16   marking as Exhibit 3. Do you recognize this      16         MR. HAYES:
       17   tweet?                                           17            Yes. Off the record, please.
       18      A. Yes.                                       18     (A short break was taken at this time.)
       19      Q. Did you create this tweet?                 19         MR. HAYES:
       20      A. Yes.                                       20            Senator Jackson is no longer on
       21      Q. And is this a fair and accurate            21       the phone.
       22   representation of your tweet?                    22         MS. SCHWARTZMANN:
       23      A. Yes.                                       23            Okay.
       24      Q. Okay. Can you read what you                24         MR. HAYES:
       25   tweeted?                                         25            But I have no further
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        1      questions. Ms. Detiege, you have the        1
        2      right to read and sign your deposition      2
        3      to review it for inaccuracies and to        3         WITNESS CERTIFICATE
        4      correct those inaccuracies. It's up to      4
        5      you, whether you want to exercise that      5         I, MAYA DETIEGE, have read or have had
        6      right, but I need you to state verbally,    6      read to me the foregoing testimony, and I
        7      on the record, whether you want to read     7      certify that this deposition is true and
        8      and sign or whether you want to waive       8      correct, inclusive of any corrections and/or
        9      that right.                                 9      changes to the best of my ability and
       10         MS. SCHWARTZMANN:                       10      understanding.
       11             We would like to read and sign.     11
       12         THE WITNESS:                            12
       13             I would like to read and sign.      13
       14         MR. HAYES:                              14             SIGNATURE:__________________________
       15             Very good. Do y'all have            15
       16      instructions for the court reporter on     16                 DATE:__________________________
       17      how to provide the --                      17
       18         MS. SCHWARTZMANN:                       18
       19             No. We can give you the -- you      19       _________SIGNED WITH CORRECTIONS AS NOTED.
       20      have my email address on the card I gave   20
       21      to you, Katie Schwartzmann.                21       _________SIGNED WITHOUT CORRECTIONS AS
       22         THE COURT REPORTER:                     22      NOTED.
       23             Okay. I'll send it to you.          23
       24         MS. SCHWARTZMANN:                       24
       25             Yes, please.                        25


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                                                          1               CERTIF ICATE
        1        THE COURT REPORTER:                      2         This certification is valid only for a
                                                               transcript accompanied by my original
        2           Did y'all want a copy of the          3    signature and original required seal on this
        3      deposition?                                4
                                                               page.
                                                                       I, LISA LANASA HIBBS, CCR, in and for
        4        MS. SCHWARTZMANN:                        5
                                                               the State of Louisiana, as the officer before
                                                               whom this testimony was taken do hereby
        5           We would. Yes.                             certify that to foregoing witness to whom oath
                                                          6    was administered, after having been duly sworn
        6        MR. HAYES:                                    by me upon authority of R. S. 37:2554, did
                                                          7    testify as herein before set forth in the
        7           Thank you, ma'am.                          foregoing pages; that the testimony was
                                                          8    reported by me in the stenotype reporting
        8   (Whereupon, the deposition was concluded.)         method, was prepared and transcribed by me or
        9                                                 9    under my personal direction and supervision,
                                                               and is a true and correct transcript to the
       10                                                 10   best of my ability and understanding;
                                                                       That the transcript has been prepared
       11                                                 11   in compliance with transcript format
                                                               guidelines required by statute or by rules of
       12                                                 12   the board, that I am informed about the
                                                               complete arrangement, financial or otherwise
       13                                                 13   with the person or entity making arrangements
                                                               for deposition services; that I have acted in
       14                                                 14   compliance of the prohibition on contractual
                                                               relationships, as defined by Louisiana Code of
       15                                                 15   Civil Procedure, Article 1434 and in rules and
                                                               advisory opinions of the board.
       16                                                 16         That I have no actual knowledge of any
       17                                                      prohibited employment or contractual
                                                          17   relationship, direct or indirect, between a
       18                                                 18
                                                               court reporting firm and any party litigant in
                                                               this matter, nor is there any such
       19                                                      relationship between myself and a party
                                                          19   litigant in this matter.
       20                                                            I am not related to counsel or to the
                                                          20   parties herein, nor am I otherwise interested
       21                                                      in the outcome of this case.
                                                          21
       22                                                 22
                                                                       ________________________
       23                                                 23           Lisa LaNasa Hibbs, CCR
                                                                       Certified Court Reporter
       24                                                 24           State of Louisiana
       25                                                 25
                                                                       10-10-24
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